Case 15-28143-JKO Doci1

B1 (Official Form 1) (04/13)

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UNITED STATES BANKRUPTCY COURT

VOLUNTARY PETITION

 

 

Name of Joint Debtor (Spouse) (Last, First, Middle):

 

Name of Debtor ( te enter Fi iddie):
Ms 1Cly
All Other Names by the Debfor inthe last 8 years
(include married, maiden, and trade names):

SAME

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):

 

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN

(if more than one, state alt): a 1), ib G

Last four digits of Soc. Sec. or Individual-Taxpayer LD. (TTIN)/Complete EIN
(if more than one, state all):

 

Street Address of Debtor (No. and Street, City, and State):

CILE Tar. SHoet HE
Hol wero! PL 3 F0d0

Street Address of Joint Debtor (No. and Street, City, and State):

 

 

 

 

 

 

 

 

 

1 Full Filing Fee attached.

&

Filing Fee to be paid in installments (applicable to individuals only). Must attach
signed application for the coust’s consideration certifying that the debtor is
unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.

C1 séFiling Fee waiver requested (applicable to chapter 7 individuals only). Must
attach signed application for the court’s consideration. See Official Form 3B.

 

ZiPcobe_—‘| EipCODE__|
County of Residencg.or of the Prin wo Z Business: County of Residence or of the Principal Place of Business:
Lt WAL Ov:
Mailing Address of Debtor (if different from stfeet address): Mailing Address of Joint Debtor (if different from street address):
Same
IP CODE [zip CODE ]
Location of Principal Assets of Business Debtor (if different from street address above):
ZiPcobE_|
Type of Debtor Nature of Business Chapter of Bankruptcy Code Under Which
(Form of Organization) (Check one box.) the Petition is Filed (Check one box.)
(Check one box.)
OC) = Health Care Business Ol Chapter 7 C1 Chapter 15 Petition for
ya Individual (includes Joint Debtors) CJ _ Singte Asset Real Estate as defined in {| (] Chapter 9 Recognition of a Foreign
See Exhibit D on page 2 of this form. 11 U.S.C. § 101(51B) Ol Chapter 11 Main Proceeding
(1 Comoration (includes LLC and LLP) C] Railroad OJ) Chapter 12 C1 Chapter 15 Petition for
Cl Partnership [J Stockbroker JX Chapter 13 Recognition of a Foreign
C1 Other (if debtor is not one of the above entities, check | [J Commodity Broker Nonmain Proceeding
this box and state type of entity below.) i Clearing Bank
Other
Chapter 15 Debtors Tax-Exempt Entity Nature of Debts
Country of debtor’s center of main interests: (Check box, ifapplicable.) (Check one box.)
[fi Debts are primarity consumer ([] Debts are
(] Debtor is a tax-exempt organization debts, defined in 11 U.S.C. primarily
Each country in which a foreign proceeding by, regarding, or under title 26 of the United States § 101(8) as “incurred by an business debts.
against debtor is pending: Code (the Internal Revenue Code). individual primarily for a
personal, family, or
household purpose.”
Filing Fee (Check one box.) Chapter 11 Debtors
Check one box:

(] Debtor is a smail business debtor as defined in 11 U.S.C. § 101(51D).
Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

Check if:

[J Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) aré less than $2,490,925 (amount subject to adjustment
on 4/01/16 and every three years thereafter).

Check all applicable boxes:

A plan is being filed with this petition. “rn

CJ Acceptances of the plan were solicited prepetition from one or fire classes

of creditors, in accordance with 11 U.S.C. § 1126(b).

 

 

 

 

 

Statistical/Administrative Information THIS SRALE IS FOR
COUR ONLY
Oo Debtor estimates that funds will be available for distribution to unsecured creditors. mm
Oo Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for fat
distribution to unsecured creditors. =z
Estimated Number of Creditors nD
O O O O O Oo O oO Oo rm
1-49 50-99 100-199 200-999 1,000- §,001- 10,001- 25,001- 50,001- Over 3
5,000 10,000 25,000 50,000 100,000 100,000 =
Estimated Assets a
i oO oO oO oO Oo oO oO yn
$0 to $50,001 to °$100,00! to $500,001 $1,000,001 $10,000,001 $50,000,001 $100,000,001  $500,000,001 More than =
$50,000 $100,000 $500,000 to $1 to $10 to $50 to $100 to $500 to $1 billion $1 billion
million million million million million
Estimated Liabilities
oO iy Oo Oo Oo oO oO oO
$0 to $50,001 to 100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001 $100,000,001 $500,000,00! More than
$50,000 $100,000 $500,000 to $1 to $10 to $50 to $100 to $500 to $1 billion $1 billion
million million million million million

 

 

 

 
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BI (Official Form 1) (04/13) Page 2
Voluntary Petition . fame of Debtor(s):
{This page must be completed and filed in every case.)
____ All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Clad fala De, Case Number: 9 7674) (7 Date Filed: (- "/= 77
Where Filed: ff 4 unt LEADS TE-6 hI 6-74-72
Location Cad Pepire MOE Case Number: pf —-QI7S6-Lamy—'| DatePiled: P-27-OF
Where Filed:
Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
Name of Debtor: Case Number: Date Filed:
District: Relationship: Judge:
Exhibit A Exhibit B

(To be completed if debtor is required to file periodic reports (e.g., forms 10K and
10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)

(J Exhibit A is attached and made a part of this petition.

(To be completed if debtor is an individual
whose debts are primarily consumer debts.)

I the attomey for the petitioner named in the foregoing petition, declare that I have
informed the petitioner that [he or she] may proceed under chapter 7, ||, 12, or 13
of title 11, United States Code, and have explained the relief available under each
such chapter. I further certify that [ have delivered to the debtor the notice required
by 11 U.S.C. § 342(b).

xX

 

 

Signature of Attorney for Debtor(s) (Date)

 

(Yes, and Exhibit C is attached and made a part of this petition.

A No.

Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

 

{i Exhibit D, completed and signed by the debtor, is attached and made a part of this

If this is a joint petition:

Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

petition.

(1 Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

 

Debtor has been domiciled or has had a residence, principal place

information Regarding the Debtor - Venue
(Check any applicable box.)

of business, or principal assets in this District for 180 days immediately

preceding the date of this petition or for a longer part of such 180 days than in any other District.
There is a bankruptcy case conceming debtor’s affiliate, general partner, or partnership pending in this District.
Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has

no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court} in this
District, or the interests of the parties will be served in regard to the relief sought in this District.

 

Debtor claims that under applicable nonbankruptcy law, there are

of the petition.

Debtor certifies that he/she has served the Landlord with this certi

 

Certification by a Debtor Who Resides as a Tenant of Residential Property
(Check ali applicable boxes.)

Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)

 

(Name of landlord that obtained judgment)

 

(Address of landlord)

circumstances under which the debtor would be permitted to cure the

entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing

fication. (11 U.S.C. § 362(I)).

 

 

 

 

 
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Page 3

 

Voluntary Petition
(This page must be completed and filed in every case.)

 

Name of Debtor(s): . y ft
Signatures

 

Signature(s) of Debtor(s) (Individual/Join!)

I declare under penalty of perjury that the information provided in this petition is true
and correct.

{If petitioner is an individual whose debts are primarily consumer debts and has
chosen to file under chapter 7} I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such
chapter, and choose to proceed under chapter 7.

{If no attorney represents me and no bankruptcy petition preparer signs the petition] I
have obtained and read the notice required by 11 U.S.C. § 342(b).

I request relief in accordance with the chapter of ‘itle 11, United States Code,

specified in this petition.
X —— YY aunt 22.
Signature of Debto -

 

 

 

 

Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is true
and correct, that I am the foreign representative of a debtor in a foreign proceeding,
and that I am authorized to file this petition.

(Check only one box.)

(2) I request relief in accordance with chapter 15 of title 11, United States Code.
Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

(J Pursuant to 11 U.S.C. § 1511, | request relief in accordance with the
chapter of title 11 specified in this petition. A certified copy of the
order granting recognition of the foreign main proceeding is attached.

 

 

 

 

xX
(Signature of Foreign Representative)

Xx

Signature of Joint Del (Printed Name of Foreign Representative)

86 FSR-A BY.
Telephone Number (if not represented by attorn|zy)
~ 1B —LS Date
Date
Signature of Attorne)* Signature of Non-Attorney Bankruptcy Petition Preparer

x 1 declare under penalty of perjury that: (1)! am a bankruptcy petition preparer as

 

Signature of Attorney for Debtor(s)

 

Printed Name of Attorney for Debtor(s)

 

Firm Name

 

Address

 

Telephone Number

 

Date

*in a case in which § 707(b}(4)(D) applies, this signe|ture also constitutes a
certification that the attorney has no knowledge afterjan. inquiry that the information
in the schedules is incorrect.

 

 

Signatare of Debtor (Corporatioi/Partnership)

{ declare under penaity of perjury that the information provided in this petition is true
and correct, and that I have been authorized to file this petition on behalf of the
debtor.

The debtor requests the relief in accordance with the|chapter of title 11, United States
Code, specified in this petition.

xX

 

Signature of Authorized Individual

 

Printed Name of Authorized Individual

 

Title of Authorized Individual

 

Date

 

defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
provided the debtor with a copy of this document and the notices and information
required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if mules or
guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
fee for services chargeable by bankruptcy petition preparers, I have given the debtor
notice of the maximum amount before preparing any document for filing for a debtor
or accepting any fee from the debtor, as required in that section. Official Form 19 is
attached.

 

Printed Name and title, if any, of Bankruptcy Petition Preparer

 

Social-Security number (If the bankruptcy petition preparer is not an individual,
state the Social-Security number of the officer, principal, responsible person or
partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

 

Address

 

Signature

 

Date

Signature of bankruptcy petition preparer or officer, principal, responsible person, or
partner whose Social-Security number is provided above.

Names and Social-Security numbers of all other individuals who prepared or assisted
in preparing this document unless the bankruptcy petition preparer is not an
individual.

If more than one person prepared this document, attach additional sheets conforming

to the appropriate official form for each person.

A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
both. 11 U.S.C. § 110; 18 U.S.C. § 156.

 

 

 

TR eters

 
 

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B ED (Official Form 1, Exhibit D) (12/09)

UNITED STATES BANKRUPTCY COURT

In re WY Burice Sy y mower Case No.
(Gif known)

Debtor

EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

ow. Within the 180 days before the filing of my bankruptcy case, | received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

2. Within the 180 days before the filing of my bankruptcy case, | received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 14 days after your bankruptcy case is filed.
 

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. Page 2
B 1D (Official Form 1, Exh. D) (12/09) - Cont.

(3. I certify that I requested credit counseling services from an approved agency but
was unable to obtain the services during the seven days from the time I made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. {Summarize exigent circumstances here.]

If your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

(4. I am not required to receive a credit counseling briefing because of: [Check the
applicable statement.] [Must be accompanied by a motion for determination by the court.]

O Incapacity. (Defined in 1] U.S.C. § 109(h)(4) as impaired by reason of mental
illness or mental deficiency so as to be incapable of realizing and making rational
decisions with respect to financial responsibilities. );

Q Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
extent of being unable, after reasonable effort, to participate in a credit counseling
briefing in person, by telephone, or through the Internet.);

0 Active military duty in a military combat zone.

5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

I certify under penalty of perjury that the information provided above is true and

correct.
Signature of Debtor: Wain? 2

Date: LO-1 B-0S

 
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B6A (Official Form 6A) (12/07)

In re Littl 5 venue .
Debtor (if known)

Case No

 

 

SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor’s own benefit. Ifthe debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,”
“W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
“Description and Location of Property.”

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If.an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. Ifno entity claims
to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

 

 

DESCRIPTION AND 5 E CURRENT VALUE AMOUNT OF
LOCATION OF NATURE OF DEBTOR’S OF DEBTOR’S SECURED
PROPERTY INTEREST IN PROPERTY Ee INTEREST IN CLAIM
css | PROPERTY, WITHOUT
= DEDUCTING ANY
SECURED CLAIM
OR EXEMPTION
IGA) AE fe (ay cr Mat Ce owngfe
HO, Maes

ood wnfeleod yah 700,000 hmm gu 00

 

 

 

 

 

 

Total>
(Report also on Summary of Schedules.)

 

 

 
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BANK ATLANTIC
3910 KIRBY LANE SUITE
#300, HOUSTON, TX. 77098

JPMORGAN CHASE BANK
P.O. BOX 100576
FLORENCE SC. 29501-0576

JPMORGAN CHASE BANK
P.O. BOX 78148
PHOENIX AZ. 85062

HOMECOMMINGS FINANCIAL
BANKRUPTCY DEPT.

P.O. BOX 939072 SAN DIEGO
CALIFORNIA, 92193-9072

 

 

 
